     Case 5:19-cv-00246-ADS Document 23 Filed 09/25/20 Page 1 of 2 Page ID #:568




 1
                                                                        JS-6
 2

 3

 4

 5

 6

 7

8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10

11   DELIA P. 1, an Individual,                   Case No.: 5:19-00246 ADS
12                       Plaintiff,
13                       v.
                                                  JUDGMENT OF DISMISSAL
14   ANDREW M. SAUL2, Commissioner of
     Social Security,
15
                         Defendant.
16

17

18

19

20

21

22   1 Plaintiff’s name has been partially redacted in compliance with Federal Rule of Civil
     Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
23
     Administration and Case Management of the Judicial Conference of the United States.
     2 On June 17, 2019, Saul became the Commissioner of Social Security. Thus, he is
24
     automatically substituted as the defendant under Federal Rule of Civil Procedure 25(d).


                                               -1-
     Case 5:19-cv-00246-ADS Document 23 Filed 09/25/20 Page 2 of 2 Page ID #:569




 1          In accordance with the Memorandum Opinion and Order, Dkt. No. 22, filed

 2   concurrently herewith,

 3          IT IS ORDERED AND ADJUDGED that the decision of the Commissioner of

 4   Social Security is affirmed, and this action is dismissed with prejudice.

 5

 6   DATE: September 25, 2020

 7
                                              /s/ Autumn D. Spaeth
8                                       THE HONORABLE AUTUMN D. SPAETH
                                        United States Magistrate Judge
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24



                                                 -2-
